




Dismissed and Memorandum Opinion filed March 26, 2009








Dismissed
and Memorandum Opinion filed March 26, 2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00277-CV

____________

&nbsp;

RALPH O. DOUGLAS,
Appellant

&nbsp;

V.

&nbsp;

ELISE SELMA DOUGLAS,
Appellee

&nbsp;



&nbsp;

On Appeal from the
257th District Court

Harris County, Texas

Trial Court Cause No.
2000-42726

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is an attempted appeal from a judgment signed December
3, 2007.&nbsp; A timely motion for new trial was filed January 2, 2008.&nbsp; Appellant=s notice of appeal
was filed April 2, 2008.








When appellant has filed a timely motion for new trial,
motion to modify the judgment, motion to reinstate, or request for findings of
fact and conclusion of law, the notice of appeal must be filed within ninety
days after the date the judgment is signed. See Tex. R. App. P. 26.1(a).

Appellant=s notice of appeal was not filed timely. A
motion for extension of time is necessarily implied when an appellant, acting
in good faith, files a notice of appeal beyond the time allowed by Rule 26.1,
but within the fifteen-day grace period provided by Rule 26.3 for filing a
motion for extension of time.&nbsp; See Verburgt v. Dorner, 959 S.W.2d 615,
617-18 (Tex. 1997) (construing the predecessor to Rule 26).&nbsp; However, the
appellant must offer a reasonable explanation for failing to file the notice of
appeal in a timely manner.&nbsp; See Tex.
R. App. P. 26.3, 10.5(b)(1)(C); Verburgt, 959 S.W.2d at 617-18.&nbsp;
Appellant=s notice of appeal was not filed within the
fifteen-day period provided by Rule 26.3

On December 3, 2009, notification was transmitted to all
parties of the Court=s intent to dismiss the appeal for want of
jurisdiction.&nbsp; See Tex. R. App.
P. 42.3(a).&nbsp; Appellant=s response fails to demonstrate that this
Court has jurisdiction to entertain the appeal.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Panel consists of Justices Frost,
Brown, and Boyce.





